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                         IN THE UNITED STATES DISTRICT COURT
                         FOR T HE SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §   CRIMINAL NO. G-04-07 (02)
                                                  §
ROYAL LEE MAYS                                    §

                                     OPINION AND ORDER

       On February 27, 2006, Royal Lee Mays, one of the named Defendants in this cause, filed

a “ Motion for Reopening the Time to File an Appeal” in an effort to pursue a direct appeal of his

conviction and sentence. The motion will be denied.

       On April 19, 2005, Mays pleaded guilty to federal nar cotics charges pursuant to a written

Plea Agreement. Mays signed the Agreement and declared that he had read it, discussed it with his

attorney, and understood it. Significantly, the Agreement contains a provision waiving M ays’ right

to appeal unless the District Court upwar dly departed from the applicable sentencing guideline range.

At Sentencing the District Court adopted the recommendations in the Pre-Sentence Report and found

the applicable guideline range to be 135 to 168 months. The Court sentenced Mays to 135 months;

no upward departure was assessed. Accordingly, Mays is bound to his obligations under the Plea

Agreement. Therefore, there is no basis for authorizing an out-of-time appeal. See United States

v. McKinney, 406 F.3d 744 (5th Cir. 2005)

       For the foregoing reasons, it is the ORDER of this Court that the “ Motion for Reopening

the Time to File an Appeal” (Instrument no. 109) of Royal Lee M ays is DENIED.

       Mays’ request to proceed on appeal in forma pauperis (Instrument no. 111) is DENIED; no

such motion is necessary for the direct appeal of a criminal case.

   DONE at Galveston, Texas, this 1st day of March, 2006.
